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EXHIBIT B

 

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Ezra Beren

l_awrence, New York-

Honorable A|vin K. Hellerstein
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street

New York, New York 10007

January 7th, 2019

l am writing to you with regard to the upcoming sentencing hearing of Murray Huberfeld.
The purpose of this letter is to provide my personal insight into who Murray Huberfeld is.
My story and introduction to Murray begins almost twelve years ago. As fate would have
it, l was in New York to attend a friend’s wedding and met Murray and the entire
Huberfeld family. Murray was extremely warm and welcoming, and extended an
invitation to his home for a Sabbath weekend as the evening came to an end. This
gracious and immediate gesture touched me as he recognized that l was far away from
my family, who lived in Denver, CO. l would later discover that this was typical for
l\/lurray, for he is a warm and inclusive individual and what transpired next was a series
of events that changed my life forever.

After that first weekend spent in the Huberfeld home, Murray made himself available to
help guide me as he sensed l needed direction and mentorship. l\/ly.fondest memories
are of the discussions we had together about embracing life’s responsibilities and
growing beyond it's more immediate challenges. l\/lurray's many messages and
recommendations resonated with me and l began to observe closely the example he set
at home, at work and in his community. l spent a fair amount of times as a guest in the
Huberfeld home. lt is a happy and inviting home with an open door policy and an
interesting array of guests at any given time. The Huberfeld children are unusually close
to one another and their adoration for Murray is mirrored by Murray's love for his
children. This symbiosis is further enhanced with the presence of l\/lurray's parents who
are intertwined in his daily life. l recall a favorite story within the family where l\/lurray, as
a young boy living in Brooklyn, survived a house tire on a cold winter night. l\/lurray, his
parents and siblings safely escaped the fire and retreated to a neighbor’s home. Upon
reaching shelter in the middle of the night, l\/lurray recalled asking his father - "Dad-

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what are we going to do - are you upset about the loss of our personal belongings or
nervous about where we will live?" To which his father calmly answered, "Everything l
need in this world is sitting right here around this table and nothing else matters". This
message encapsulates l\/lurray's approach and dedication to his family.

As Murray continued to check in with me and mentor me in my work related endeavors,
l had a unique opportunity to watch Murray in his many roles. As a manager, he was
hard working and ran and operated many businesses seamlessly. l also observed how
he was able to share his personal time with me and others in conjunction with the
enormous attention he showered on his immediate and extended family. This dual role
left a huge impression on me; that he could be fully engaged in his business affairs, yet
just as committed to his roles as father, husband, son and friend.

Who would have foreseen that when l first met l\/lurray, twelve years ago, l was also
meeting my future father in law. As l developed a stronger connection with Murray and
his family l also discovered a deeper connection with his oldest daughter, Jessica.
Jessica has inherited many of my father in law's very best qualities. Both Jessica and
Murray are kind, hard working, popular, and tenacious. lt is their generous spirit and
huge hearts, however, that have endeared them both to me. Becoming Murray's son in
law was a role that l approached with great pride and honor. l\/lurray, or "Dad", as l call
him today, reciprocated with his distinctive warmth and zeal and welcomed me as his
sixth child. Jessica and l have been married for almost seven years and we have two
beautiful children together. These last three and a half years in particular, has allowed
all of us to watch my father in law in his new role as grandfather, or "Poppa". His sheer
delight in being a grandparent is heartfelt and inspiring, as he is supremely proud of
being closely connected to his three grandchildren, interacting with them almost daily.
These exchanges along with the time he spends with my youngest brother in law, Jack,
keeps him active, relevant and on his toes. l\/ly father in law transcends his age with his
energy, vitality, and contagious enthusiasm for life.

Honorable Alvin K. Hellerstein, l humbly ask you to consider the observations l have

shared along with my deep feelings for my father in law. ln making your decision, l ask
that you weigh how vital it is that my father in law remain present in our daily lives.

Respectively,

Ezra Beren

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Honorable Alvin K. Hellerstein
l.lnited States District Judge

United States Courthouse

Southem Distn’ot of N Y ~
soo Pearr Seeel w ark Josh Berkowitz
newman _
Your Honor,

l am writing this letter to lend some perspective to your honor on my brother»in~law Murray Huberfeld
in many ways he has had the most impact on my life. l was an impressionable 15‘year»old when he met
and married my sister. We became inseparable right away. l always cherish the time we spent
together, as he helped me to grow ap in to the father, l am today, l would drive with him around to
business meetings just to be able to spend time with him. We spoke about everything from, sports,
business to of course food.

l will give you a few examples of how Murray impacted my iife. When l was attending NYU in my late
teens and early twenties he was the person l would call for all types of advice. This includes both social
and academic lie was my confident and my greatest advisor, l lived on llnlversity Place in Greenwich
Vrllage and was going through a tough time. l was feeling down and not functioning well. l was living on
my own and not taking diligent care of myself. Murray came down to my apartment one sweltering day,
got on his hands and knees and literally cleaned my apartment lie then gathered all my laundry and
took it home to be washed and returned l-le could not stand to see roe living in a nonfunctional mess,
and he was insistent upon acting. tie really cared, and it really helped l am forever thankiul for that.

After NYU, as l was still struggling, Murray invited me to live with him on his third floor of his house in
long island i=or the next 8 months l lived with my brother in taw, sister and their young children l-le
spent 18 hours a day with me. He would wake me up every morning to Daven and go with him to his
office We would work together all day and then go for dinner. We would go home and spend time
with the kids, and then either go swimming or watch a movie l couldn't get away if l tried. What was a
moment in his life to experience the growth and miracle of his children, was interrupted by a twenty
something depressed young adult, who needed to live with a family at that time He sacrificed so much
Murray literally tried to break me out of my own seddesnouive habits lie would not allow me to fail
asleep on the couch and would literally walk me to my room, to tuck me in, so that l can properly go to
sieep. tie put band aids on my fingernails, so l would stop hiring them. tie wanted me to live like an
adult and not a child, lie took reelection and wanted real change

s

As the years have passed, the ways he has helped me are immeasurable. lie has invested money in my
ldeas, he has recommended me ioriobs, and has given me money when i have trouble paying my bills l
am certain that your honor will receive many letters about Murray’s amazing charity giving. l will not go
into numerous examples, but l will tell you that he never lost wrote a check lie listened He absorbed
Most of all, he cared,

the most important thing Murray has taught me is the value of family l have never known anyone
more dedicated to his family. The respect and love he showed for his father was always owe inspiring,
tie continues now to make his mother’s life easier. His dedication to their story, and to the memory of
their experiences and everyone else’s in the holocaust, is laudable His children were all raised to
respect and honor their grandparents lt is something i witness to this day.

As a personal anecdote, l know how much Murray regrets and takes responsibility for his actions He
has already experienced tremendous shame and embarrassment lie has had to endure all of this while
mourning the loss of his father, The burden has been massive lie has expressed to me how sorry he is
to have put strain and embarrassment on our family. All l said was tremernber when l was 15 and we
met`i, l would have had lt no other way. l arn now rid with a wonderful wife and two amazing children l

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would not be here without him. Those are not feelings Those are facts, and they Can'i be disputed l
know that the good Murray can do will be much better served in his community as opposed to isolated
in a prison. l ask your honor to weigh all these experiences and his personal impact on me when
considering his sentence

Thank you,
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Noah Berkowitz, iviD, Ph{`)

New oc e e,

Honorable Alvin K. Hellerstein
United States District Judge
United States Courthouse
500 Pearl Street

New York, NY 10007

October 13, 2018

Dear Judge Hellerstein,

l am contacting you regarding the sentencing of my brother in law, Murray
Huberfeld Recognizing that Murray made a mistake for which the court must find a
suitable sentence, i approach the court, as someone who has observed and
benefited from Murray’s lifelong commitment to kindness and caring for others, with
the humble request that the court consider a more diminutive sentence for

him. l believe his profound remorse will motivate him to focus even more of his
energy on kindness and caring.

l met Murray approximately 30 years ago when he began to date my sister1

Laura. A successful business man at a young age, Murray married my sister and
proceeded to create a remarkable work-life balance that achieved further business
successes but more importantly to him and those around him, a nurturing
environment of kindness and caring that envetoped the lives of his wife, children,
extended family and ever expanding circle of friends. l have always been struck by
Murray’s enormous capacity to listen and consider each individuals needs in his or
her time and place A defining aspect of this mindfulness is the patience with which
it is attended, much different than his approach to business transactions in which
his judgments appear to be decisive and prescriptive l want to share two personal
anecdotes spanning the decades of our relationship because both demonstrate this
selfiess character trait and a clear underiying tendency for altruism.

in the eariy 1990’$, l was a 27 year-old medical student, at that point, several years
married to my wonderful wife Diane. t.aura and Murray were more recently married
At some point during a dinner conversation at the home of our parents, l pressed
my sister about a recently ruptured relationship with her best friend, as the event
had (modest) ripple effects on the relationships of other famliy members My harsh
questioning selfishly focused on the impact of this rupture on my iife, easily
overlooking the deep pain l_aura was experiencing having lost a lifelong friendship
l_aura left the table in tears. t recall Murray asking me to take a walk, Three years
my senior and a recent entrant to our famiiy, Murray asked me if we could discuss

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the incident that had just transpired During the ensuing dialogue he expressed his
love for Laura and then without disparaging me, illustrated the harm l had caused
my sister by the words and setting l had chosen for the discussion He provided
coaching and advice in a dignified and constructive way. l was struck by his
maturity, but most impressed by his modesty and sensitivity

This would be the first, but not the last time, l received advice from Murray that was
not requested but was immenser appreciated in late 2008, a biotech business l
had started failed Over the next 18 months l began to consider the next steps in my
career As a physician~scientist entrepreneur, the options were varied VVas l to
head back into the "start up" arena Should l consider becoming involved on the
venture side of that world? Might l return to clinical medicine? As time passed, it
became clear to others, but not to me, that l was not "moving forward". l was
browsing opportunities but in retrospect, l was not identifying and expressing my
true passion One day in early 2010, Murray invited me to stop by his office When
he asked me where l thought l would be heading professionally l expressed a not-
fully developed idea of how l might become involved in the funding side of
biotechnology. Displaying interest and curiosity, Murray asked me questions that
highlighted incongruity between my personality professional experience and stated
y desire He helped me probe my options, non-iudgmentally. l began to express fear

of heading in a new direction l also expressed some concern about whether l had
truly accumulated the requisite skills for this shift in career. When the conversation
intensified, Murray was sympathetic and supportive as one would expect from a
friend and family member. ¥et, he provided much needed critical assessment of my
career choice, which he delivered with his characteristic modesty and sensitivity,
given the delicate nature of the topic. Upon leaving his office, l realized a future in
biotech investing was not for me. Within a few months l accepted a medical
position at a small biotech company \/\/ithin 2 more years, l moved to a larger
pharmaceutical company, where l have been for 6 years l am very satisfied with
my late-in~professionai-life career choice l credit Murray with helping me find my
direction at a critical moment l am touched by the fact that he cared enough to
invite me into his office and discuss my career. He was neither a best friend nor a
parent or sibling. He was (and remains) a person who cares about others and uses
his knowledge experience or simply his ability to listen and empathize to help
weakened people resolve their hardships or crises.

The focus of Murray’s caring is not limited to family members To highlight how
broad his compassion can be, l thought l would describe what it is like to ceiebrate
the .lewish Holiday of Purim in my sister’s home for the past 18 years After
returning from synagogue services on Purirn morning Murray has, for as long as l
can remember, sat down at a table in his living room and invited a guard to open the
front door of his home so that hundreds of indigent people on line outside and down
the block can take their turns (after enjoying food set up in a tent outside) sitting at
a makeshift table across from Murray, where they can quietly and privately share
their personal stories of hardship Addressing each person with care, showing
respect and maintaining the requester's diglnity, Murray listens, inquires and

 

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responds and then provides a check that can help the requester manage the
financial hardship of his or her personal experience The line continues all day, as
does the intensity of Murray‘s attention Only when other family members are
exhausted from a day of testivities, does Murray sit down in the early evening to join
family members for dinner and celebration l take my kids every year, in part
because l appreciate my sister's generous invitation but also in part, because l want

my children to witness what it means to show compassion and respect to those who
have stumbled in life

l hope the court finds these personal anecdotes and observations helpful and can
consider these aspects of Murray’s life in determining an appropriate sentence

Sincerely,

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Noah Berkowitz, MD, PhD

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Englcwood, Ncw`lcrscy-

Honorable Alvin. K Hellerstein
Unitcd States District`]udgc
Unitcd Statcs Courthousc

500 Pcrl Strcct

Ncw York, Ncw York 10007

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l)car_]udgc Hellerstein,

'l`wenty-cight years ago Murray Huberfeld married my daughter, Laura. Thcy have had
five children together and are now enjoyng being grandparents to thrcc. Ovcr thc years l have
developed a deep and profound love and respect for my son-irr-law, Murray as he has bccn a
Wonderful addition to our family. V\!c cherish his devotion to our daughter and to our five grand-

children

Murray has always served as a magnet for my family, as well as our entire extended family.
We have spent almost every holiday together and have shared in cvcryonc’s cclcbraiions as well
as in times of sadncss. Murray has always respectfully turned to my husband Waltcr and l for
advice and guidance with family matters, making us feel that our opinions were valued by hlm. l
appreciatc, in turn, the way he has served as a mentor to my youngest son,tlosh who was strug~
gling to find himselfin his college years l will never forget thc caring with which Murray took
him into his home to strengthen and nurture himi Hc created a role for him in his business and
helped him to become focused and healthy 'l`his has bccn an ongoing process for 20 years
Murray has always been there for him through thick and thin ~”whcncvcr_]osh would faltcr,
Murray would bc there to get him back on track. AS parents Murray’s support has given us
pcacc; a peace we would not have felt otherwise Knowing that there is somebody else out therc,
who worrics about my son and always takes his nccds to hcart, is a source oi`grcat comfort to mc,

During these last twerity-cigliit years of'l\”lurray being in our lives, j have ‘Witncsscd firsthand
Murray’s generosity and devotion to those less fortunate than himself During a family trip to
lsracl some ten years ago, to celebratc thc Bar Mitzvah of my grandsori, l wi;ne Sscd an event that
exemplifies l\/l urray’s ability to focus on what is truly important and meaningful Coi'nciding with
our grah:lson’s cclcbratlon, Murray arranged a bcautiful, fcstivc evening in honor oftwcnty-six
boys, mostly orphans, to cclcbratc their Bar Mitzvahs. rl"hc dinner included spirited singng and

 

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dancing We, Murray’s family, became the family of these boys for that celebration \Ne had not
known of Murray’s affiliation with this orphanagc until that wonderful evening This is the
Murray l know7 always channeling his altruism in a quiet unassuming way to do what he can to
help others

For as long as l know Murray, l believe his heart has always been in the right place and he
is heartbroken, ashamed and deeply remorseful for his transgression We are all trying to come to
terms with this. What l know for certain, is that Murray is an extraordinarily good man. He is
completely devoted to my daughter, l,aura. He has montoer and raised 5 caring, loving, kind,
contributing members of society; his wonderful children He has taught them all ofthe values
and virtues one can aspire to in raising children. listen now, he shares his own personal lessons
with his children so that they may understand how one takes responsibility by making amends for
mistakes made

My son-in-law, Murray is a special individual whom l believe is worthy of your eonsidera~
tion for leniency and a sentence that allows him to remain home with his family. lt is too painful
for me to imagine life without Murray being present for my daughter, liaura and my five grand-
children who need him. l hope that my portrait of Murray will reassure you that he is a good
person whose transgression does not define the whole ofwho he is. Please consider my respectful
plea to not sentence Murray to prison.

Respectfully yours,

 

Phyllis Berkowitz

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7/12/2018

Honorable Alvin K. llellerstein
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liniteti Stzites tjonrthoose
Soiithern l)istric:t of l\lew i’orl<
500 Pe;n‘l Streot

l\lew Yorl<, New Yorl< 10007

l‘)ezir lodge Hellerstein,
l ann Wi'iting on behalfofniy hrother~in»lnw, Murray llul:)erleld, Who you Will he sentencing in Septemher.

l have known Murray for nearly thirty years, Since our first meeting on the Corner ol};ibotinsl<y Street and
l<eren llei»Yesod Street, When l Was first introduced to him as the man dating my sister. l was eighteen
years old at the tinie. As 3 hrother»in-law to hiin, Uncle to his live children (two ol"Whoni are now
rnzirried}, great-nude to his three grandchildren and as a personal t`riend, l feel like l am Well Sitiiatetl to
oseess his eharzic:ter, having been Witness to many facets ofhis lif`e.

liirst', in the personal realm Murray is n remarkable son. The 'l`ahnnd in Tr;ictate l<iddushin {Pnge 313)
nsl<s: flow l'zir most one go to fulfill the comniandment ollionoring one's father and lnother? lt proceeds
to relate o story shoot o certain home hen Netina Who passed n;?) on ri€hes So as not to disturb his
pnrents' sleep When l ask that question to mysell`, nearly 1500 years alter the closing of the Tahnucl »~
how far must l extend inyselt"in honoring niy parents ~ the image l Conjiiro in iny mind is Murray tending
to his parents §~ as lleiina hen Ne.tine§ has no personal relevance to met

Murray'$ parents both survived the lloloceiust. His father, may his memory he a blessing labored in
Si><teen canips, emerged from Ansehwitz, and endured the long and uniin;iginal)le death-march back to
Germany. llis mother weis hidden in various pre~planned places With her inmin in Polend, spending the
minority oi`the Wor in a harn, under o food troogh, used to feed animals Her Short stature is likely am
outcome oi`:~;tnnting, doe to the Cege she grew up in, and the nutrition she received in that Criti€al,
formative period l\/liirrziy’s parents always commanded and deserved reSiieCt ~~ as they ere, Withont
exaggeration measures ol"the jewish nation llowe\fei‘, they olso had singular emotional needs having
lost niost_ oftheir iomilies, and their entire pi'e~War World ~» not to mention the difficulties they
encountered ns immigrants Murray Was their roe;l<; he, more than any other person, including his
wonderful sihlings, cared for them from on early age, Supnorted then), Worried about them, and
eonstzintly showered them With love, respect and attention lt ives o remnrl<zil:)ie thing to see in his
l`atlier’s lifetime inspiring everyone around him to eirnilote his personal extin'iple. lie Continues; to invest
that time end attention in the care ol` his mother ~ Who is eloser to him in spirit and in practice than any
other person l believe that separating them for any extended period Wili have a deleterious el`ieet on her
health end Well-heing, as her emotional Worldj after Wh;it she has experienced in her life and her
hiish;ind's recent passing is tied almost entirely to l\'inri`ay, and his siblings

hii,iri'ay is n Wonderi`iil epouse and father. l‘“;nniiy has always meant everything to him, and he has
demonstrated that in his day to tiny life lie prioritizes his tiine, involving himselfin every aspect olhis

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children's lives: Whether it he their education Character development their financial needs their future
professional plans, or their own efforts to branch out and build their families lie has not only been a
source ot financial support to tiiein, hut is always there, Whether to throw a baseball With his youngest
lacl<, or lately to help him prepare for his har~initr;vah, or to help his daughter Ariella as she starts dating
or to help his son Avi lind his footing professionally or to offer to help lessica and Rachel, and their
spouses With the care oi`his three young grainichildren. His farnin as a whole and my sister in particular,
rely on hini to he presentl engaged and involved every single day

Murray is a singular friend Being a naturally Warm and social person he has amassed an incredith
network of friends There is nothing they would not do for linn -' and he iii return to thein. lie is a careful
listener, attuned to the emotions ofpeople, and always finds a vvay to lend a hand or offer a word ot
support lie is not limited by the Dnnhar nuniher, as apparently the cognitive load ol`l<eeping track of the
many hundreds ofpeople in his networlt, and finding positive Ways to impact their lives, doesn’t seem to
ever slow linn down.

Murray is a naturally generous person llis latest project more emotionally charged since his father's
passing is to beautii`y and enhance the chapel in Whieh they prayed together in hawrence, l\levv Yorl<. lie
takes partin the daily upkeep ol`the chapel, collecting dues, supporting the Rahhi, and ensuring that ali
feel Welcoine and recognized for their contributions lie does this as a labor oi`loye, as he is the
consummate "shul menseh" or devotee »- in our parlance

l\/lurray's Worl< on helialt`oi`the syiiagogue personifles Who he always heen: a details person in the
i.renches, vvorl<ing alongside people ofeyery stripe to bring things to lite 'l`liis is how he began his
husiness liie, behind the Counter at Kosher Deiight, a small restaurant Chain he founded i\lo detail Was
ever too small lie sample everything laid down the tape in the kitchen ~ to desiin a Worl<flow that
could deliver speedily to the large lines manned the register, Cleaned the floors alongside his
employees and often pitched in to help With food preparation When the store Was mohhed. Murray
vvorl<ed his vvay up from the back kitchen to the hoardrooin » without ever l`orgetting Where he started

0yer the course ot1 the last thirty years, Murray has continned to bring that energy and spirit of
collahi‘)ration to everything he does, including his philanthropy. i could list the institutions he has
supported and the projects lie has dedicated but what has impressed ine most is his habit ~ over many
years w ofsending SB,OOG to each Cliahad ilonse upon its opening lie has done this, inst hy text, over the
phone, not knowing the solicitors, or requiring any paperwork to offer his support fit one dinner We
Were at, he responded to three different Chabad l~lonse openings liyen though ideologitally l don"t
believe he has any affiliation With Chahad, he knows that they love people and that they are not
jiidgniental, and that they offer Warnil,h and support to travelers and other people Witli yarlous needs, the
world oyer. That’s enough for hint

l know that he has pled guilty to a single count ot`Wire~l'raod and l know that for this lapse ol`jndginent,
he is terribly remorsel`ul, hot this single event does not obviate a lifetime ol`being a devoted son, a loving

sponse, a caring fathen a generous i`riend, a devoted worshi;i)per, a hard Worl<er, and a philanthropist of
the ii rst order l hope that these qualities are factored into yoiir intimate judgment

Sincerely,

Mr<i:?

Berkowitz, Seth

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Dr. Walter D. Berkowitz

Englewood, New _iersey-

Honorable Alvin. K Hellerstein
United States District Judge
United States Courthouse

500 Pearl Street

New York, i\lew York 10007

luiyzr), 2018

DearJudge Hellerstein,

l met Murray Huberfeld twenty-nine years ago when he began dating my daughter, Laura. Murray evidenced
his love for laura and l was convinced that he would care for her and that they would build a meaningful life and

a family togetherr

Lool<ing back, l could not have imagined just how incredible theirjourney would be. ihey have had a most
beautiful communication of openness and honesty Together they have raised five beautiful children, two of
whom are already married, and three grandchildren i, along with my wife Phyllis, were blessed to be there for
all the hirths, the milestone events, the weddings -- and now to witness the growth and development of our
great grandchildren lt is not something we take for granted

Murray is an exceptionally loving and nurturing husband, fatherand grandfather. He is completely hands on
with all of his children and grandchildren We get to see this on ourfrequent Sunday and weekend visits: the
way Murray engages each of his children and now grandchildren, caring for them, playing with them, providing
them with advice and counsei, and preparing them fortheirfuture.

Murray is a wonderful son~in»law. My wife, Phyllis and l cherish his warm and caring nature lie has showered us
with love and respect and we share a close relationship We always feel welcome because Murray enables us to

playa meaningful role in his family's life.

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A most beautiful attribute of Murray's is the way he has cared for his parents l have always been awed by his
devotion to them Both were liolocaust survivors which defined their entire lives Murray'sfather, Pinchas lost
his family during the war and was left alone in the world. tie married his wife, Rae and they marked 63 years
together until his passing After losing so much in his life, he cherished his wife and the three wonderful chil-
dren they raised together. Since his fathers recent passing, iviurray has turned his full attention to his Mother.
The loss of Pinchas has taken a profound toll on her emotionally She is physically very fraii and has moved into
Murray and iaura's horne Murray is the one primarily responsible for her and l know how much she relies on
him.

l understand that Murray is to be sentenced by you in December and has pleaded guilty to a count of wire-fraud
it is an awesome responsibility and one that stands to impact the lives of Murray’s mother, my daughter and
son'in iaw, my grandchildren and great grandchildren so l feel like l too have a lot at stake

l am 82 years old and have practiced Cardiology for overfifty years l consider myself a good judge of character. l
realize that we cannot fully apprehend the soul and conscience of another human being But l would lil<e to
share with you the following experience that reveals Murray's true heart

During the course of Murray’s trial l went to court one day. l did not tell Murray l was corning When the trial was
adjourned everyone filed out and crowded around the elevator banks Murray and l came face to face. lie im-
mediately burst into tears and expressed his remorse He then started to wail. l hugged him tightly and felt his
body convulsing. l literally felt his pain

l cannot weigh the implications of Murray's actions But l am convinced of his remorse, humiliation and suffer-
ing. lam hoping that you will factorthis into your sentencing l hope that you will see that he is a person of fine
character, whose entire life has been devoted to caring for his elders, his community and his loved ones. in
every way that his life has intersected with mine, he has acquitted himselfwith dignity and compassion

Sincerely yours,

dicta id r§aea§

Walter D. Berl<r)witz, il..%.

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£aura Ber/<owz'tz-Huberf’e[d

_ £awrenee, /Vew york -

Honorable Alvin K. Hellerstein
Unlted Statcs District Judge
United Statcs Courthouse
Southcrn District of New York
500 Pearl Street

New York, New York 10007

Deccmber 4, 2018
Dear Judge Hellerstein,

As Murray’s close and devoted partner for the last twenty~eight years, l know that the experience
of the last two and half years has been the most painful and difficult period of Murray’s lifc. lt is
profoundly clear to me every moment of every day that he has deep remorse for his actions l
see this in the time he Spends thinking about his wrongdoing and how he takes responsibility for
it; how Murray teaches each of our five children to learn from his transgression and that they
must think through every decision they make in life; and how his guilt has dcepened his
commitment to continuing to do good for the community

Since I have known Murray, he has always stepped up for individuals and for the community
Murray has never been a bystander and has been the one willing to act to effect change and
improve people’s circumstances Since his offense, however, my husband’s commitment to
helping others has grown even deeper because of the remorse he suffers as a result of his
misdecd and the tarnish to his family’s good name.

Murray is the son of immigrant parents who emigratcd to the Unitcd Statcs after living in
post-war Europe for ten years. His father spent years in hard labor concentration camps in
Poland; his mother was in hiding for two and one-half years during World War II. Most of their
families were exterminated. They moved to the United States of America to build a new lifc.
These traumatic experiences and losses that they shared with Murray have had an indelible
impact on him. Thcy have shaped his perspective, his sensitivity and his cmpathy for peoplc’s
challenges and their needs

With limited resourccs, Murray learned to carry a lot of responsibilities on his shoulders from a

young agc. As a teenager he began working to do all that he could to become financially
independent to help his family. At nineteen, while attending evening college_, Murray started a

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business with his parents, a restaurant called Kosher Delight, and continued nurturng its growth
to several locations For thirty-six years, this business became his parents` livelihood until their
retirement when they were well into their late eighties. This first business undertaking was an
early success for Murray and l.believe that it was Murray"s way of making sure that his parents
were taken care of.

A large part of Murray’s time and attention has always been given to caring for his parents They
have been particularly dependent on Murray To that end, he has been an outstanding son
inspiring everyone around him to emulate his extraordinary example Sadly, during the time that
Murray’s case has been pending, Murray’s father became very ill and he subsequently passed
away. This was a great loss for Murray and was devastating for his mother, who became a widow
after 6,3 years of marriage. She was too frail to live alone and both her doctors and Murray
agreed that she should come and live with us. Since she moved in, Murray remains her lifeline
and singular source of comfort

From the time l first met Murray and then became his wife, our lives have intertwined with one
another in so many directions, creating a unique synergy for the two of us. I have been drawn to
his genuineness, compassion for all people in need, and his ability to find the good in every
situation. In fact, we were overwhelmed by the many people who approached us and offered to
write letters to the court~people who Murray helped in confidence Murray knew many of these
people personally but others were total strangers He was viscerally emotional and did not want
to have them reveal their personal situations I know that Murray has never been comfortable
receiving public acknowledgement or any fanfare for his good deeds. For as long as l have
known Murray, the act of stepping up and doing something positive to effect change and improve
people’s circumstances has been a source of deep meaning for him.

Murray is a born nurturer. He has a unique ability to capture the essence of a person and support
and encourage their strengths, inspiring them to persevere. This has manifested itself in most
every relationship and interaction he has shared; with our children, our families, our friends and
many others who seek Murray’s support This has also been integral to my own development
because Murray has inspired me to be a more giving, open-minded and empathic individual. I
see these very same qualities in my children and l attribute it to Murray’s consistent teaching.

Murray became our oldest daughter, Jessica’s devoted guardian, from the time she was diagnosed
with Type l Diabetes at the age of l l. He stood guard over her through the night to ensure that
her blood sugars Were stable and she was safe. At the same time, he was her consummate
cheerleader always encouraging Jessica to tap into her own ability to cope with this disease.
Murray is Jessica"s greatest advocate. empowering her to actualize her fullest potential in her
personal and professional life.

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Because Murray is attuned to people’s needs, he always finds time to listen to others and do what
he can to provide constructive advice, whether mediating a situation with a couple struggling
with marital issues helping a person who has lost employment to get back on their feet or
immersing himself in a project that addresses community needs

One example is the synagogue he re-established within our own community Murray dedicated
an enormous amount of his time, follow-through, and resources to this project Its presence has
contributed to the expansion of our neighborhood and it is cherished and enjoyed by its

congregants.

Extending outside of our community is a project that Murray has been personally committed to
that has had a significant impact on the survival and wellbeing of newborns from diverse
backgrounds Murray’s involvement with this project began over ten years ago when he
discovered there was a great need for a new and enhanced Neonatal Unit and Birthing Center to
be built in Jerusalem. Murray recognized that improving the technology, expanding the physical
size of the units and attracting the finest medical physicians and researchers would positively
impact the life-saving success of this hospital Murray and l feel blessed to continue to support
this important initiative and to be a part of the leadership team.

In contrast to the life we have known, where we have been positive leaders and cultivated so
many wonderful and diverse relationships Murray’s arrest and its aftermath left Murray, myself
and our five children terrified and shaken. The ongoing consequences of Murray’s actions did
not only affect him, but reverberated in many areas of my life and our children’s lives This
propelled us to engage in a search for meaning and we embraced this reality together We have
been committed to this goal, but it has come with many challenges and hardships for our family.

For Murray, it has led to deep introspection about taking responsibility, his feelings of remorse,
and his making amends Murray gives public talks to adults about the importance of obeying the
law. From this terrible setback, Murray has pushed his shame, humiliation and damage to our
family’s name aside. He believes that it is critically important to tell others about his
wrongdoing Murray hopes that by using his own example he can motivate people to think
carefully about their own actions

The profound shame Murray feels has not stopped him from involving our older children and
sons-in-law in his community service projects lt is the reverse. As a father, Murray has always
had an extraordinary ability to use our children’s disappointments and challenges to help them
find a way to accept and grow from hardship. Murray believes that it is important for him to use
himself as an example for our children in teaching them how to face a crisis with humility and

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willingness to continue giving He has an ongoing dialogue with each of them and he often
brings our children to his service projects He has had our children accompany him when he
meets with groups and speaks about his misdeed. I am proud of Murray for his decision to take
responsibility for his wrongdoing and for turning his remorse into positive action.

Our youngest son, Jack was only 10 years old at the time of Murray’s arrest. It has been
challenging for Murray and I to navigate appropriate ways to communicate all that has transpired
these last two and a half years Although there has been complete transparency amongst our
older children in our discussions at home. we have been careful to include lack in only the
details that are age appropriate His pain and fears are palpable and despite seeking professional
counseling to try to help him cope with his trauma, he understandably remains anxious and
worried.

Judge Hellerstein, lt has been overwhelming for me to digest the gravity of this chapter of my
life, but I remind myself of the man l truly know. Murray Huberfeld is a good person who
embodies so many beautiful qualities and values l have watched him as a dedicated husband,
father, son, friend, and community leader. l humbly ask that in making your sentencing decision,
you consider and take into account all the past good deeds Murray has done in his lifetime, the
lessons he has learned and the amends he is making Please allow him to remain with me, our
children, and with his mother, who would experience untold further suffering Any probationary
plan you could impose, would permit Murray to continue his good works with fervor. In making
your decision, l am pleading that you consider what l have shared with you about Murray and
our family. And I ask that you consider my sincere and respectful plea for mercy.

Respectfully,

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Laura Berkowitz-Huberfeld

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Alexander Huberfeld

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New York, NY-

 

The Honorable Alvin K Hellerstein
United States District Judge

United States Courthouse

Southern District of New York

500 Pearl Street

New York, NY 10007

January l, 2019
Dear Judge Hellerstein:

My name is Alexander Huberfeld, age 22 and oldest son in our family. This is the most difficult
letter for me to write because the father that I admire and love, and who has taught me right from
wrong, finds himself in this terrible predicament. In addition, I feel a great responsibility in
writing to you; perhaps my words to the Court can have a positive impact on his sentence, and I

pray that they do.

My father is a special person as I will attempt to describe. One thing to note about my dad, his
greatest trait, is his bandwidth. He has incredibly large bandwidth in everything that he does in
his life, every day that he is walking the earth; it’s as if a lightning rod turns on for him each
morning with the sole job of helping our family succeed and making the world a better place. My
father is able to apply this bandwidth in many different ways, like spending an entire Sunday
mediating a community issue with a flurry of non-stop meetings or his hands-on approach to the
renovation of our synagogue. I am sorry that you did not have the opportunity to cross paths with
my father under other and better circumstances because I am sure you would see him the way I
do. I am completing my last semester in college and preparing to enter the ‘real’ world.
Unfortunately, l have already had my brush with that world - when my father Was arrested I was
just beginning a summer internship. When I came to work a couple of days later, I was fired.

My little brother Jack, who just turned thirteen, doesn’t deserve to lose his father. As the
youngest child in our family of five children, lack has grown up pretty much alone with my
father and mother. I am ten years to his senior and while he has grown up within a loving family,
I don’t think he has the same sense of closeness to his siblings that we all grew up with. My
father is very conscious of this and actually tries to compensate by spending extra time with
Jack, We all love to share a restaurant meal or to go to a ball game together with my dad. Should
my father be sent away, Jack will miss out on a world With a father, and the chance to be raised
with the same time and effort that my father has invested in me.

Then there is my Bobby, my father’s mother. She lives with my parents since my grandfather

died just over a year ago, I believe I am the one she confides in; we go on long walks around the
neighborhood. She conveys to me her intense fear, that she will lose her son, “How could I

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endure any more loss ?”. After the loss of my grandfather, this would be too much for her to
handle. My father is her anchor and cares for her physical and emotional needs and treats her like
royalty. He has always had that sort of relationship with both of my grandparents for as long l
can remember and he was his father’s best friend until his dying day. lt was easy for me to learn
to be a good son with such a shining example to watch closely.

I have been the sound voice at home trying to reassure the family that it will be all right, but as a
young man, l don’t feel l am doing this so effectively l truly am very worried myself . That is
why I pray each day and have faith that you will make a decision that will enable our family to
stay together and allow my father to remain at home. l can’t imagine that the world will be a
better place without the presence of my father. l believe that the impact that he has on so many
people around him is far too great to take this decision lightly.

Your Honor, the day my father was arrested felt to me like he died. lt was the worst day of my
life. The person l would always call when l faced adversity could not come to the phone. lt took
a while for my father to find his footing, but when he accepted responsibility for his actions he
was fully committed to moving beyond his own pain and learning from his mistakes This has
opened up an ongoing dialogue With me and my siblings because he is determined to make us
aware of how one must accept responsibility and grow from it. He has invited me to accompany
him when has shared his experience with various communities in Brooklyn and Upstate on what
he calls the “grey line”. l know it wasn’t easy for him to speak in front of me -» most people
would be challenged with bringing themselves to give the speech, but my father also brought his
son. This has in turn helped me see him take responsibility for his actions and I know how sorry
he truly is. l recognize how difficult it is to admit guilt, especially in public, but he has. The
speeches were impactful to me because l saw the immediate affect it had on people, based on the
practical questions asked about how their businesses may be crossing a “grey line”.

Your Honor, l am so worried about my father, my mother, my grandmother and my siblings lt is
a horrible period for our family and l know that my dad regrets his actions He and us, have
suffered terrible shame as well. l respectfully ask you to consider a punishment that would not
take him away from his family. He is our anchor and without him we will be lost. l hope you
have heard my words that come from the depths of my heart.

Very Sincerely,

Alexander Huberfeld

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Ariella Huberfeld

Lawrence, NY -
s _

Honorable Alvin K. Hellerstein
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street

New York, NY 10007

July lp, 2018
Dear Judge Hellerstein,

l am writing to you on behalf of the man l lovingly call my father, Murray Huberfeld. l\/ly name
is Ariella Huberfeld and l am the fourth child of five children in my family. Ever since l was
little, being the youngest of three girls, l have always been “daddy’s little girl.” Having this title
has certainly provided the ideal canvas for the unique and exquisite bond l am privileged to have
with my father. l\/ly father has and continues to be the role model that l look up to each and every
day. Even now, my father continues to teach me and has done so in the most honest manner so

that l can learn from his mistakes

For all of my life, I have been keenly aware of the fact that my father is the person that many
people rely upon for his advice and guidance in many different arenas Throughout my
childhood, l have observed his interactions as he gives of his time, his finances but most
importantly of his whole heart to anyone in need of assistance He has and continues to lead a
life of service to the community, always recognizing his unique capabilities and utilizing all his
God-given talents to help those around him. Although my father has always channeled much of
his personal time to these endeavors, our family remains my father’s top priority l recently
returned horne from a year studying abroad in lsrael. l can tell you, Your Honor, that not a day
went by without my father calling me to check in with me and see how my day was going lt did
not matter how busy his schedule was on that particular day; l knew that when he was speaking
to me, that was what what mattered, as if he had no other place to be or no other call to take

In 12th grade, my class was given an assignment; a genealogy project to research our family
history. This afforded me an opportunity to learn about our family on a deeper level and it
explained my father’s devotion to us, his children. As a result of the Holocaust, my father grew
up with no relatives; no aunts, uncles, and cousins the way l did. While l get to spend each

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holiday with my extended family, my father spent the holidays at the table with only his mother,
father, brother, and sister. This led to an incredibly close bond with his parents and siblings that
still carries over to today. There has been this emphasis on family and community unity for as
long as l can remember My father also has an open door policy in our home, that no one need be
alone on Shabbos and on holidays and all are welcome to join our family. l\/ly father turned his
own family’s suffering into a blessing for others

The recognition of my father’s commitment to family was magnified when my grandfather,
Philip Huberfeld, of blessed memory, fell extremely ill in the last year of his life. lt was a painful
and scary time for our entire family, watching our whole world come crashing down in front of
us The only security l had was knowing that my father was doing all that he could to keep my
grandfather comfortable and as happy as he could be. Each morning, my father would wake up,
immediately call my grandparents’ home and speak to my grandmother to see how my
grandfather had been ovemight. l\/ly father would attend early morning prayers and rush over to
be by my grandfather’s side at the start of his day. Again, after a long day of work, my father’s
first stop before returning home was a visit to his parents He would spend an hour there, come
home to eat dinner and catch up with us, and once the house was settled, would return to his
parents home to kiss my grandfather good night and lift my grandmother’s spirits My father
knew how important religion was to my grandfather, so each Sabbath throughout his illness, my
father would arrange prayers in my grandparents’ home to give my grandfather serenity. This
didn’t just begin when my grandfather fell ill. This is something l have witnessed throughout my
whole childhood. l have watched my father clear out his schedule to fly with my grandparents
down to Florida to make sure they were settled and comfortable for the winter months lt was all
out of love and compassion.

The hardest day of my life was the day my father got arrested Being a mere seventeen years old,
l was shaken to the core and that feeling lingers today, These last two years have been extremely
difficult for our entire family. l have watched my father suffer and have to accept his new reality
each and every day. He has accepted responsibility for his mistake and has made so many efforts
to improve himself and grow from this awful experience lt has been very hard for my little
brother Jack, who is still living at home with my Mom and Dad. My parents have tried to protect
lack from the pressures surrounding my father’s upcoming sentencing l do worry about him.

Judge Hellerstein, l ask you to please grant my father leniency so that he can continue to be the
loving and hands on father he has always been. So that he can continue to raise me until l can
stand on my own two feet. So that he can watch me as l embark on a journey of developing my
own self-identity and make my own mark on the world. So that my precious nieces and nephews
can continue to come over and eat breakfast with their “Papa” each morning So that my little
brother, lack can be as fortunate as the rest of his siblings and have his father there with him

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each day as he leaves for school or have a catch of ball with him during his free time So that my
grandmother, a newly widowed woman should not have her son taken away from her and have to
endure another loss So that my father can continue to be “the person” so many choose to turn to
in their time of need. Please find a way to keep my family together. My father will do so much
good if allowed to give of himself to his family and his community l turn to you with my prayer
to allow my father to stay with us

Respectfully,

Ariella Huberfeld

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Honorable Alvin K. Hellerstein
United States District Judge
United States Courtbouse
Southern District of New York
500 Pearl Street

New Vorl<, NY 10007

October 25, 2018

Dear Judge Hellerstein,

 

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Honorable Alvin K. Hellerstein
United States District Judge
United States Courthouse
Southern District of New York
500 Peari Street

New York, NY 10007

September 20, 2018
Dear Judge Hellerstein,

l am Murray Huberfeld’s mother, Flae (Flivka) Huberfeld l am writing to you to express
my thoughts and fears and to tell you about my son, Murray through a mother’S eyes
Murray is such a blessing to me in so many ways and l can’t believe l am writing to you
under these circumstances now. l have been through many hard times in my life. As a
young child in Poland, during the war, l was in hiding for 2 112 years with my mother, fa-
ther and younger brother, Yisrael. My father carried my brother and my mother carried
me through the forest and many rivers until we reached a farm. l was only six years old
at the time, but l understood that very frightening things were happening around us and
l was frightened by them. We were not allowed to make noise or move around many
hours of the day This was very challenging for a little glrl. l looked to my mother and fa-
ther for signs if they looked worried, l was worried lf they seemed OK, l was Ol<. Of
course later in my life l came to understand the horrors of the time; the Hoiocaust. We
lost many loved ones including my maternal grandparents and my beloved 2~year-old
baby sister, Leah, as six million jews were exterminated.

Murray’s father, Phillip (Pinchas) Huberfeld and l were considered the lucky ones be-
cause we Survived. Phillip was captured as a teenager and spent time in several con~»
centratlon camps working excruciatingly hard labor for which scars remained He lost
all of his loved ones Yet, through his life he did not complain or speak of it much. He
especially did not want our children to be burdened by what he had experienced When
they asked what the number is on daddy’s arm, he would tell them it was his phone
number But how do a mother and father impart lessons to their children without trans-
parency? l very much wanted our children to know where they come from, to know
where they are going and how they are going to contrbute. So we told them.

Phi|lip learned early on, that revealing the numbers on his arm made people feel un~
comfortable So he hid it from others for that reason lie would wear long sleeves even
on hot days just so they would be OK. To this day, Murray has taken on the mission of
supporting the healing from the past horrors. He does this in so many ways; from giving
honor and tribute to the victims of the l-loiocaust, to showing his gratitude for his parents
survival and the bravery of the rescuers, to supporting the growth and health of new
generations

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Despite the challenges my husband and l experienced in our own lives, Phillip accom-
plished something very rare for a Hoiocaust survivor He attended graduate school to
fulfill his desire to become a social worker He always wanted to assist others Through
the years, l have been told stories of how giving and kind Phillip was to them, even at
the oamps, sharing his last piece of bread with another who was hungry. l am asked of-
ten, how is it that my husband and l did not become bitter after all we experienced and
all we lost. We were not bitter. This is in large part because we were raised by our par-
ents to be loving and giving people and it is these character traits that transcended
everything Phiilip was beloved for this warmth and giving quality Sadly, we lost him last
year to cancer We had been married for 63 years; a lifetime l miss him terribly. l look
around me though, and see my amazing family and know that together, Phillip and l laid
the groundwork for that Each and every one of them, children and grandchildren, are

loving and giving

My son, Shalom is a doctor. l-ie expresses his caring of others by heating them and
maintaining their good health As a child, l did not go to school in Poland. As a Jew, l
was not allowed to until l was older after we moved to lVlunich. ll l had the opportunity
though, l would have become a doctor l became a mother and l gave my whole self to
being the best mother l could My daughter, Bina worked in retail and became a devoted
wife and mother lvly son, Murray had an interest in business and at a young age, he
built our family business Kosher Delight, a restaurant food chain that provided a gather-
ing for families Even today, people stop me and say they miss it, for it was a meaningful
way for their families to get out and enjoy the atmosphere and delicious food in commu-
nity. We were that haven for our community for 36 years

Murray continued his success in business and was always involved in charitable acts
and good deeds He married his wonderful wife, l_aura and they have five incredible
children l see that his children mean the world to Murray His devotion to family is beau-
tiful to see ido think that Phillip and l instilled all of that in him and l am so proud of

this

What happened in this criminal situation? This is not Murray Murray is a giver, not a
taker. l ask myself, is this even true? Murray tells me he has taken responsibility for the
wrongdoing l can see he ls filled with pain and remorse. l am so worried about Murray
lt consumes me l-le is such a good, loving and giving person and has to face this now.
Can this blemish on an otherwise magnificent life become a permanent stain?

l have been told that Murray may face a prison sentence To be perfectly honest with
you, lcould not bear that. lwou|d fall apart into a million pieces. ldon’t want my chil~
dren to worry about me, but of course they do as l am getting older and l am more fraii. l
live with Murray now because things are not right physically and even emotionally with
me l get dizzy a lot. l fell a few times and needed stitches on my lip. Phillip and l used
to hover over our children We feared for their safety all the time That came from being
exposed to so much danger in our younger years Now Murray worries about me like
that He feels better now that l live with him and he can watch over me. We are very

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close l miss Phillip terribly. The sadness is difficult to overcome But of all the people in
the world, l feel safest with my Murray. He is my rock.

l don’t know how you will make your decisions Your Honor, but l have experienced
enough in my life to know, that if there are two roads to take, take the compassionate
road. l am begging you with every bit of strength l have left, to please choose to keep
Murray home He can do community service and continue to serve the needs of others
if he has probation and have some kind of house arrest Whatever is possible for you to
impose just so that Murray will not be taken away. l can’t help but feel like l did when l
was that little six-year-old girl in hiding, who only felt that everything would be OK by
searching my mother and father’s eyes for re-assurance. l am turning to you now for
that reassurance Please Judge Hellerstein, please reassure me that it will be OK and
that you will allow my scn, Murray to stay with me. l know he will do everything he can
to make amends

With respect

raw

Rae Huberfeld

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Nassau Queens Pulmonary Associates

 

Steven G. Orshan, MD, FCCP
Arthur Trust, DO, FCCP
Seymour l. Huberfeld,lle,FACP,FCCP,FAASM

Mai l.iu, DO: FCCP
Dena Daglian, lviD

Honorable Alvin K. Hellerstein
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street

New York, New York 10007

September 6, 2018

Dear Judge Hellerstein,

My name is Seymour issac Huberfeld My friends call me Shalom. i would like to
provide you with some background on my relationship with my brother Murray. He is my
older brother by four years You should know that everywhere l go, l am known as
Murray's kid brother. l am a physician, certified in 4 different medical specialties l hold
an academic title at the l-lofstra Medical Schooi. However, there is no title and no name
that gives me more honor than being known as Murray's brother.

Please allow me to tell you a few stories about how we grew up together. l remember
that when l was 6 years old , l had just learned to ride a bicycle without training wheels
While trying to show my new skill* my body went flying, stemming my face into the dirt.
There was blood everywhere l started crying Murray, who was playing basketball
nearby, ran to my aid. After a cursory look at me, he took my bicycle and started
pedaling away. l couldn't understand Why was he leaving me and why was he taking
my bicycle? As l stood up to walk towards home, dripplng blood, l saw that he had
taken my bicycle in order to get horne quickly to summon my parents He had my best
interest at heart even as a 10 year old child.

Murray was always quick on his feet and seemed to know what to do at the right time. l
remember when there was a tire in our house when he was 12 and l was 9. He was the
one who woke up my parents and called the Fire Department. He literally saved our

entire family.

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Growing up together it seemed that Murray got all the sports genes while l got none
However, Murray did need someone to practice with; someone to throw the baseball to,
someone to act as hockey goalie, and someone to pass the basketball to him. We used
to spend hours practicing a particular pass move for 2 on 2 basketball We knew that ifl
could get the ball to him at a particular spot it was a guaranteed basket. We practiced
this move hundreds of times until we got it right, and it was very effective We were a
good team but he was the leader

Murray also, like any older brother, looked out for me in school and camp. Murray made
sure that l wasn’t picked on too much and that the other kids gave me a fair shake
There was one time when l was in the seventh grade, that a particular classmate made
me his target, and l told Murray about it. l don’t know exactly what Murray said or did.
However, the next term, not only did the bully not pick on me, he became a good friend

During my junior year of high school, l was starting to have some doubts about my
future l wasn’t sure if l wanted to pursue a career in Medicine, and considered deferring
this to enter the Rabbinate. Murray strongly felt that that rny talents lay in Medicine. We
had a family meeting on a Saturday afternoon lasting well until the evening Acting more
like a father than a brother he convinced me to interview for college early admission l
can trace my entire career and my entire life beginning from that Saturday afternoon
conversation, where he felt the need to step in, And as quickly as he stepped in, he
stepped out, giving me the room to grow on my own.

This relationship did not end as we grew oider. lt just took on a different dimension
Murray and l were always proud of each other and supportive of each other. Several
years ago Murray helped me to purchase my current home The house was perfect for
my family and Murray helped me financially He gave me just the right amount of help
but never made me feel that it was him that was carrying me. Murray gave me the
confidence that l would be able to carry the house on my own in a very short time

Murray is well known for his acts of financial philanthropy. What is less well known, but
that l have witnessed personaliy, is the way he is charitable with his time l know that he
spent hours, days weeks and months working to reunite a family that was tom apart by
rivalries to the extent that siblings did not speak with one another for years He
successfully ended this schism. Murray gives emotional support which is often just as
important as financial support Every year on the festival of Purim, Murray’s horne is an
open house l-lundreds of people flock to his home on that day. Murray meets with each
one individually He listens to their stories and takes their hardships personally Those
who sit at his table leave with more than just a check They feel that someone cares,
and that they are not alone in their sorrows.

Murray’s personal generosity was also manifest in his donation of a Torah scroll to our
local synagogue This scroll was commissioned by and paid for by Murray, butts known
as my father’s Torah Even Murray refers to it as "Daddy‘s Torah". This Torah scroll was
dedicated to the memory of those family members who were murdered in the
Holocaust. This is the scroll that every boy in our family has read from on their Bar
Mitzvah, including my son and Murray's 2 sons. lt is a Torah scroll that we each take
turns holding on Yom Kippur at Kol Nidre This is but one example of how Murray gives

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my parents respect and honor.

As our parents have aged, our relationship has matured. This development can be
traced to a particular weekend when our mother was hospitalized in intensive care after
a sudden illness Murray and l spent that Sabbath in the hospital together with my
mother Our mother was seriously ill, on a respirator, and comatose. Her prognosis was
bleak and uncertain Murray and l spent many hours talking about our lives, our families
and our goals l realized after this conversation that my brother was stepping into his
new role as the head of our family. Our mother, thank G~d, had a complete and
near-miraculous recovery However, not long after that my father became ill.

Murray’s new role became even more apparent during my father's battle with terminal
cancer. Murray clearly stepped up. He became the one to turn to for advicel support
and direction This is all the more noteworthy, as that at the same time that he was
dealing with personal and professional challenges Murray focused on maintaining our
father’s psychological well-being constantly raising his spirits and bringing him joy even
as his physical condition deteriorated

Many things have changed now in the life of our family following the death of our father,
of blessed memory His loss is irreplaceable to us, and to my mother in particular, l am
extremely worried about my mother who has always relied on Murray, all the more so
now. He is her comfort in a life that has been shaken. Their relationship has always
been a particularly close one lt is one that l have always admired and l cannot
replicate. The possibility of my mother losing Murray to prison is unimaginable.

Your Honor. Everything that l have learned about being a good son, husband and father
l learned from Murray. l have watched him handle iife’s trials and tribulations with honor,
dignity and grace This is the Murray Huberfeld that l know, love and respect

Thank you for reading my reflections of my brother Murray. Please factor in Murray’s
whole life as you make your sentencing decision

Respectfully,

eymour i. Hu erfeld, MD

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Honorable Alvin K. Hellerstein
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street

New York, NY 10007

July 2, 2018
Dear Judge Hellerstein,

l\/ly name is Jessica Huberfeld Beren. l arn Murray Huberfeld’s eldest daughter l am
married and have a three-year-old son and four-month old daughter. Being the eldest, l
feel it is my responsibility to plead with you on behalf of myself, my siblings my hus-
band, and my children, not to take my father away from us. The effect of my father not
being here will not only affect him personally but all of us - we will be a broken family, a
family without our leader. l know you have received many letters detailing the good
deeds my father has done for others but l want to share a few stories that l personally
witnessed and experienced and learned lessons from. These stories will show you my
father’s true character and why l need my father so much.

When l was ten years old l was diagnosed with type 1 diabetes l struggled with my di-
agnosis both physically and mentally The hardest part was watching my siblings and
parents cope with my sickness lt felt like we were thrown into a dark abyss. Controlling
diabetes is the most challenging task. Type 1 diabetes is a serious condition with poten-
tially scary outcomes Raising children is hard but having a kid with a chronic condition
adds another layer lt is a perpetual trial and error to the point of madness. Things that
used to be simple - wake up, eat breakfast and go to school, now seem like the most
complicated chores in the world. lilly morning routine began with my father pricking my
finger then administering a shot of insulin. l only allowed my father to clothe shot be-
cause he had a lightertouch than my mother, l began to find it very stressful in the
morning, to make it to the bus on time with all of these new responsibilities Without tell-
ing me, my father arranged with my grandfather, to drive me and my sisters to school
every morning, allowing me to have the extra time l needed to get myself ready. l now
understand that he did this so as not to make me feel embarrassed or like a “sick kid”
who needs extra help.

For the first month, l wouldn't allow the school nurse to administer my lunch time shot so
one of my parents had to come to school every day. l wasn't allowed to eat any snacks
throughout the day that would raise my blood sugar, so rny father went out and ordered
me a variety of different jellos so l would have a snack whenever l needed, Whenever
everyone in the family would be eating cake for dessert my father would open 2 jellos
one for me and one for him so l didn’t feel like l was the only one missing out. l\/ly father
placed a phone right next to my bed so l could page him in case my blood sugar
dropped too low and l wasn't able to get out of bed. For years my father never slept a
full night, waking me two - three times a night to check my blood sugar because he was
afraid my blood sugar would drop too low while l was sleeping Now at the age of 26

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when l come for weekends my father will come check on me in the middle of the night
and make sure my blood sugar is ok. He never ceases to be my protector

One year, as a teenager, when it was very difficult living with my diabetes and l felt ex-
asperated, l went off course lwanted to feel independent When l was sixteen years
old, we were in israel for Sukkot holiday. le father woke me on the plane to take my
blood sugar and l just was not in the mood to do it. l took my meter to the bathroom,
pretended to take my blood sugar and told my father "l'm 1201" My father wrote it down
in my log book which got emailed to my doctor weekly This was the day, l realized how
much my parents trusted me The idea of not checking and pretending my blood sugars
were great, was so appealing l began skipping testing more and more By the time we
returned from the holiday l started skipping insulin doses too. One evening my father
glanced at the records recorded in my meter and saw they were blank or super high for
weeks which was very different from what l told him to record. When my father discov'
ered this instead of yelling at me and threatening me, he sat me down, looked me in the
eye and said “Jessica l love you. Tell me what l can do to alleviate some of the pressure
and stress diabetes is causing you. Give me a task to take on so you don‘t ever feel so
overwhelmed again that you want to ignore your illness.” l was struggling with this se-
cret and l didn’t know how to stop doing what l was doing like a drug addict My father
gave me the love and support | needed to overcome this and turn a new page with my
diabetes care

When l got married and wanted to have children everyone thought it would be impossi-
ble for me to have healthy children with my track record of blood sugars, but the one
person who always believed in me, encouraged me, and supported me, was my dad.
My husband didn’t really understand the struggle it would be for me since he was new to
a diabetes education My parents were the only people l could rely on to support me
through this uphill battle Having diabetes while pregnant was the hardest thing emo-
tionally and physically l have endured. Because it was a high-risk pregnancy, l had to
see many doctors each week. Throughout this l was in school and for the second preg~
nancy in graduate school and raising a toddler. lilly father came to every single big ap-
pointment with me and held my hand throughout the entire experience Today l have
two healthy children

These past two years have been very difficult When my father was arrested it changed
my life and the stress l have had to endure has been monumental. On top of that, my
husband lost his job and l had to watch him struggle We moved into my parents house
for the summer. lilly father was so depressed and l wanted to do all l could to be there
for him, just as he has been there for me. l thought that moving in with my one year old
son would bring some happiness into his life and give him a purpose to continue living
Every morning l would bring my son into his room to give him a good morning kiss. l
would stop in every hour With my son in order that my father had something to take his
mind off the stresses he was facing At the time, my husband was taking everything
very hard and felt like he couldn't be in such a depressed house for his own sanity so he
stayed in Manhattan and l would travel back and forth between my husband and my fa-
ther trying to raise everyone's spirits By the end of the summer l had gained 15 pounds

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from stress, developed a nervous habit of biting the inside of my cheek so l had many
sores in my mouth, and was in a bad place within my marriage l couldn't get pregnant
because my blood sugars were so high from lack of caring for myself because l was so
depressed and spending my time worrying and stressing l could not socialize, so l lost
friends My grandfather became ill and was on his deathbed and we had to keep the ar-
rest a secret from him because if he knew, he would die instantly. Then my grandfather
died. Watching my father lose my grandfather was heartbreaking. He was the most im-
portant man in his life, as my father faced the hardest thing that ever happened to him
and he needed him the most.

Watching my grandmother grieve the arrest of her son and then the sickness and death
of my grandfather brought our grief to an even higher leve|. lVly father always encour-
aged my grandmother to share her life’s experiences and what she endured during the
holocaust. l-le always believed it is very important to know where you came from in or-
der to know where you are going Every Passover, my family would spend the seder to-
gether. My grandmother would gather all of the grandchildren every year and talk about
her life during the holocaust. She would always reiterate the importance of family - how
important it is to value each other each day. She would tell us how important it is to her
to be able to see and touch her loved ones l know what losing my father to incarcera~
lion would do to her. lt would literally kill her. Losing her husband of 60 years has al-
ready taken so much from her and left her half the woman she was.

Please, your Honor, don’t take my father from us. He can make amends for his wrong
doing without serving time in prison. l know he will be devoted to a probationary plan
with all of his heart and soul. His remorse can be turned into action to help others
Thank you for considering my plea

Respectfully1

Jessica Huberfeld Beren

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Rachel Huberfeld-Jacobs

New Yorkl New York -

Honorable Alvin K. Hellerstein\
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street

New York, NY 10007

December 1, 2018

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Dear Judge Hellerstein,

le name is Rachel Huberfeld-Jacobs. | am the second child to Murray and Laura Huberfeld and
a Wife and mother to a 22 month old daughter with another child due in Maroh. l am writing this
letter to plead with you to consider what | have to say. l have struggled to find adequate words
to describe the extraordinary man that my father is while at the same time letting you know the
important lesson he has taught me and my siblings by taking resposibility for his actions l feel
compelled to describe something deeply personal in this letter and why my father’s presence is
so vital to my life.

l grew up with a father who was always busy and engaged in his business life, in a multitude of
community projects and was and remains a devoted and cherished friend to many. Despite his
demanding schedu|e, when my father came home from work every night, he would carve out
time to end my day with a positive exchange, words of encouragement and the Siiema prayer,
asking God to watch over me while l slept. He would follow it up with a song and the lyrics, “l
love you so much, my little Rachey l love you so much, now go to sleep, | love you so much.”
Whether l was awake or asleep, he would do it every night. l have adopted the same bedtime
ritual with my daughter,

Throughout my childhood, my father was a constant presence in my life. He checked in with me
before and after school and was aware of my classwork and my relationships With my friends
One week, when my family was away on a trip and just my father and l remained in New York,
my father suffered from a kidney stone and needed to go to the hospital. Without complaining
about his extreme discomfort my father was most concerned with where l would sleep and how
l would get to and from school the following day. As an adult now, | understand how much pain
he was in at the time and the extreme se|flessness he demonstrated to me.

l\/ly father’s selflessness and devotion has not diminished even as l have become an adult with

a family of my own. After the birth of my daughter l experienced extreme migraines, hand
tremors, weight loss, extreme fatigue, and a ravishing appetite | ignored it assuming it was

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typical “new mom” behavior. lVly father noticed this change and arranged for me to meet several
doctors to figure out the underlying cause. lt wasn’t until the first Week of my fathers trial that l
was diagnosed with Graves Dlsease, an autoimmune disorder stemming from my thyroid. l
arrived to court around lunch tjrne after my appointment confirming my diagnoses R`ather than
taking a much needed snack break, my father sat with me in the courtroom going over
everything the doctor had discussed with me and the treatment process lt is my father’s nature
to always put his family before himself and it is a character trait l cherish.

The past two years have been a bittersweet time for me. June 8, 2016 is the day that my father
was arrested. lt was also the very clay l discovered that l was expecting my first chi|d. Every day
since that day has been difficult for me, l have experienced the joy of introducing my child to the
world with her new activities and stages yet | find myself holding back because l am sad and l
know of my father’s pain. l know my father bears responsibility that his actions have hurt his
family and others who have been affected by his actions l\ily father has admitted to his mistakes
and l respect him for this Sti|l, he has been deeply embarrassed and is filled with anguish. He is
truly remorseful.

What remains vibrant in my father’s daily activities however, is his dedication to his family and
community He is a dedicated parent to me and a devoted grandfather to my daughter The
week my father pled guilty, he Was on babysitting duty for my daughter, My father insisted that l
take a short vacation with my husband Daniel after his graduation from Law School and before
he began the arduous task of studying for the bar exam. Although lt was one of the most
stressful and life altering weeks of his life, my father woke up every night with my daughter, fed
her and bathed her_ Every person who saw them together that week, told me she refused to
leave his arms

As the secretary of the Huberfeld Family Foundation, l have witnessed the tireless efforts my
father has dedicated towards helping others everyday While my father has experienced his own
pressures over the past two years, he has not ceased to assist those in need. While some
people consider charity as only contributing funds my father Works from his heart by donating
his time and wisdom as well. As much good as l would like to do in my role with the foundation,
lt could not run it without my father. l am still learning and he is my mentor.

l\/iy father has admitted to his mistakes and has pled guilty to his misdeed. He has taken
responsibility for his actions yet all of us have suffered greatly these past two years He has
shared with ali of us his immense regret, his remorse and his desire to teach us how to accept
responsibility for our mistakes in life. l love and support my father and l always will but we need
to have him as a loving Papa to his grandchildren, to raise my 13 year old brother to balance
the parenting role with my mother, to take care of my grandmother, to guide my siblings as they
try to find their way in life, to offer advice to my husband who is beginning his law career, and to
just be the amazing father that he is.

in making your decision with regard to my father’s upcoming sentencing l hope you will

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consider the qualities l have shared with you describing the beautiful and kind person that he is.
Having my father away from my family would be devastating Selfishly, l want him at the birth of
my child, at my graduate school graduation, and more. We need him here With us We have
already lost so much of him these past two years Your Honor, l ask of you to please show
mercy at his sentencing

Respectfuily,

Rachei Huberfeld-Jacobs

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Honorable Alvin i<. Hellerstein
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street

New York, New York 10007

Dear Judge Hellerstein:

Allow me to introduce myself ‘four Honor. My name is Bina Huberfeld
Levy and l am Murray Huberfeld's sister. l am writing to you on behalf
of myself, my sons and my husband in support of our heart-felt request
for leniency for my brother Murray.

l thought it helpful for you to learn a bit about all of us, especially
Murray. le parents were Holocaust Survivors and we, the children
(Nlurray, my brother Seymour and myseif) were/are a replacement for
those that our parents lost in the Holocaust; as well as being their hope
for the future. le father passed away in 2017 and my mom, Rae lives in
the same neighborhood as ali of us. in fact, she now lives with my
brother Murray and his family. We are a very close family.

When we were growing up my father was the Executive Director of
Bnei israel of Midwood. Part of my father’s job was going to Bnei israel
every Sabbath to make sure that everything was ok. Murray was my
father’s walking companion and therein became his confident early on.
My father later had an opportunity to open a kosher fast food
hamburger place. Very quickly it was clear that my father, while a hard
worker, could not keep up with the demands of running the business
We all worked in the business, but it was Murray who was really the
business However, Murray made sure that everyone treated my father
with respect and did not take any credit for himself le father was
never physically well-he had tuberculosis after World War ll and
suffered post-concentration camp ailments ali his life. He had a certain
fragility about him that my brother Murray somehow intuited early on
in his iife; thus his fierce protection of my father all of his life. Niy
mother, who was more emotionally fragiie, also relied on Murray for
his inner strength-~something he displayed very early on in his life.

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When Murray was very you ng, he was a very good baseball player but
my brother Seymour was not. But Murray made sure that everytime
the kids in the neighborhood played baseball, Seymour got up to bat.
Murray could not have been more proud of my brother Seymour when
he became a doctor and Murray deiights in Seymour’s achievements--
both in his medical career and in his synagogue activities He is so
proud of all of his nieces and nephews.

We lived a very simple life as children My parents were not moneyed
people. My dad earned a very modest living My mother was a
homemaker. if we wanted something we had to work for it. So as soon
as Murray was a teenager, he went to work. He worked early on as a
waiter and then held other jobs in the lewish catering world in Boro
Park, Brooklyn. l remember Murray had been saving money for years
to buy a car. He went out and bought a white Camaro-- it was his pride
and joy. The day he brought it home, he handed rne the keys and less
than a few weeks later l had an accident with his car. Most brothers
would have freaked out; screamed and yelled-~but not Murray. When l
told him, his only response was, don’t worry about it; you are okay,
that’s all that counts; l will have it fixed. Sure enough, when it was fixed
he gave me the keys and told me go ahead and use it, That was the
kind of brother he was and is.

When Murray went away on a vacation he always bought gifts for me
and my mother. To this day, l have the things that my brother bought
me.

l will never forget when we had our hamburger restaurant, we all
worked in the business, but Murray worked there the longest hours and
the hardest. He did everything at the restaurant One day, Murray
went to my parents and said that he had a great idea to publicize the
business He was maybe 19 or 20 years old. He suggested that we run
a special promotion. lie suggested that \ve advertise that you could

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buy a hamburger for 20 cents. The lines were out the door and my
brother Murray was on his feet for 16 hours a day. His idea put us on
the map and started us on a successful path. At that time, our family
was not very stable financially Murray, in the most honorable way,
gave my father all the respect, but it was Murray who really made the
business what it was, yet always told everyone that it was my father
“who made it happen”.

Murray was never the best student in the class, (unlike my brother
Seymour, who was), and in fact never completed college (something he
regrets to this day) because he had to help my parents in our
hamburger place. l remember that he would be the one opening the
restaurant in the morning and staying until 1 am at night~~-so even
night school wasn't an option. However, he was and still is a voracious
reader, mainly of non-fiction. He also makes it his business to learn
from a Jewish text everyday 7

With Murray's hard work he gave my parents a lifestyle that they had
never had before. However, that effort cost Murray dearly. To this day
l know he regrets never finishing college, but he believed in his heart
that this sacrifice was worth it for my parents.

Given Murray's commitment to the restaurant, he did not enjoy the
same social life as that of his friends. They got married young; started
their families young, while Murray worked and worked and worked

When Murray finally got married to my wonderful sister in law Laura,
he displayed the same levels of devotion and commitment that he had
shown to me and my parents and my brother, to his own family. He
was and is an incredible husband, father and grandfather, l don’t think
he ever missed a Siddur party; a piay; the kids and Laura were and are
his priority.

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My brother Murray is the penultimate caretaker. While my father was
alive, Murray's day always began with picking my father up to go to the
synagogue. They went to synagogue together from when Murray was a
very young boy--even before his Bar Mitzvah. Murray and my father
never missed a day. While my father’s health was declining, Murray
would literally have to pick up my father every morning and take him to
synagogue. After he dropped off my father, he would then either visit
with my mother or if he was running very late, call my mother. The
respect Murray showed my parents throughout their lives is something
that l have admired always

My father used to tell me that as soon as synagogue was over in the
morning, people would come up to my brother, start telling him about
a problem they had, or someone that they knew had, and Murray
would stand there patiently, hearing everyone out and many many
times offering to help.

Murray wasn’t just loyal to my parents and to my brother and l.
Murray was and is a very good friend. He has many long-term
relationships with friends Through the years he has made matches for
his friend’s children; helped his friends with their businesses; or
medical issues. Whatever anyone needed, Murray gave it to them,
without the smallest expectation of anything in return.

During the holiday of Purim, every year my brother and his wife provide
hot meals and financial help to the needy.

l also want to mention that Murray has always refused to accept an
honorarium. Why? Because he didn*t want to impose on people to
have to give money-~- with one very noteworthy exception. At the
seventh shas, which commemorates the end of the seven~year cycle of
learning for religious lews, Murray was offered a huge honor, it was the
honor of saying kaddish for the six million lews who perished in the

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Holocaust. So Murray accepted-but did so not for himself»--he gave
that honor to my father. For my father, who survived the Holocaust, he
always said that it was the highlight of his iife, for he came full circle.

¥our honor, we have a family joke that Murray is my older brother,
although l am Hve years older than him, because he always wanted to
take care of me. l want to share with you a few examples of what l
mean. When l found myself in a very difficult financial situation Murray
immediately helped me with advice, loans and unconditional emotional
support When l was dating, it was Murray that vetted my boyfriends
and didn’t hesitate to stand up for me when l was hurt by one of them.

Murray is really a person who wanted always to take care of my
parents and for my parents to be proud of him. That is who he was and
who he is.

When my first son was born, Murray went to FAO Schwartz and bought
the biggest teddy bear in the store because he was so happy for my
parents that they had the gift of a grandchild, and that they could
witness lost generations were being reborn right before their eyes.

But his generosity of spirit is not limited to my parents or to me and my
brother. My niece Jessica, was diagnosed with Type 1 diabetes as a
teen. le brother spent years researching the best doctors, the newest
advancements; learning all about her condition»»you name it. l-le did
whatever he could to give her the most ”norrnal" life she could have
and thank G-d, she is now the mother of two beautiful children. He has
always put his family first. Their needs supersede his own.

in 2013, my mother went in for a simple outpatient procedure and she

became septic-»~a life threatening condition. My brother Murray was at
her side at the hospital day and night. His devotion to her, to the

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exclusion of all else, exemplified who my brother is. Thank G-d she
made a full recovery. l think my brother's 24/7 dedication to her played
a very big part in her recovery.

ln 2016, my father, got very ill and once again Murray dropped
everything to be by my father’s side. Murray's visits with my dad
parked him up and cheered him up and put a smile on my dad’s face.
Murray’s love and devotion for my father no doubt helped to prolong
his life, even after being given a diagnosis of Stage lV esophageal
cancer. Observing my father and Murray together during this time l
was brought back to the time when they spent so much time together
when Murry was little and how happy my father and Murray were. His
love and devotion for my father brought my father great joy and solace
even on his worst days.

lam also writing to you on behalf of my husband and sons who all have
a close family relationship with my brother (s) and their families. We
are so fortunate to live within walking distance of one another for many
years rand therefore we have had the privilege of enjoying many
Sabbath and holiday meals together, celebrating birthdays and other
milestones together. This year was a particularly difficult one for all of
us, as it was the first year that my father was not there leading the
Passover Sedersr lnstead, my brother Murray and my husband shared
in lleading the Seders, using many of my father’s traditions, but you
could see on everyone’s face, especially Murray’s how much we all
missed my dad.

When my father was dying, he knew that something was going on with
my brother Murray; and that it wasn't good. My father was heavy
hearted for Murray because he knew he was suffering My brother is
suffering Your Honor. lie is suffering that he has put his family through
hell. l have watched my sister in law Laura over these long months and
have seen a woman who was once so strong, turn into a very fragile

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and frightened human being. The woman who together with my
brother raised five fabulous children is now a shell of herseif. lt is heart
breaking to watch. l have seen how much my mother is also suffering l
have seen first hand the toll that this whole situation has taken on my
brother, his family, and all of us. Murray is a broken man and he has
paid a terrible price. l respectfully ask that Vour Honor show leniency
towards my brother on behaif of our entire family. He has expressed
his remorse to me and his sorrow for the pain he has caused everyone
We have been bereft since my father died and have reiied on Murray to
carry on my father’s legacy as the family patriarch. He is the rock and
the foundation for ali of us and he has done and will continue to do so
much good for the community

Very respectfully submitted,
Bina Huberfeld Levy

del W/ ‘

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Daniel jacobs

New York, NY -

Honorable Alvin K. Hellerstein
United States District Judge
United States Coulthouse
Southern District of Ncw York
500 Pearl Street

Ne`w York, New York 10007

November l, 20l8

Dear Judge Hellerstein,

My name is Daniel Jacobs, and l am married to Murray Huberfeld’s daughter, Rachel. Together
we have a Z~year-old daughter, and we are expecting another child in March. l am 28, and
recently graduated New York University School of` Law. l have started my legal career as an
associate at Gibson, l)unn & Crutcher.

l first met my father~in-law as a young teenager at a synagogue service that l attended with my
father. Although my father did not know Murray well at that time, l recall how he approached
band welcomed us, while introducing himself to me. l remember being struck by the fact that such
a distinguished figure of the community, who was very well known, would take time out of his
service to personally introduce himself to a young boy he had never seen before This seemingly
minor act cncapsulates Murray’s essence, for his prominent status never alters his humility,
rather it grounds him in his duty and dedication to our community

As my relationship with my father in law has grown deeper over the years, l have witnessed
many of his honorable character traits firsthand l have seen Murray as a son, sciilessl_y caring for
his ai §ing elderly parents, survivors of the Holocaust. l have seen Murray as a husband, creating a
unique partnership with my mother in law that l wish to emulate in my o‘»vn marriage I have

seen Murray as a father, actively involved in every aspect of his children’s lives, no matter how
mundane l have seen Murray as a grandfather caring for my daughter and even waking up to
comfort her in the middle of thc night l have seen l\/lurray as a community leader and friend,
welcoming, those in need into his office and using every resource at his disposal to help them.

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Most personally, l have seen Murray as a father-in-law, constantly helping and inspiring me to
become a better husband and father myself ’

Over the course of my five years of marriage, l have pursued a legal education for almost the
entirety of that time. l\/ly father in law actively supported me during every step of my path ~ from
my entrance to law school, interviewing for career opportunities at prospective law firms, and
even advising me to take an extra year to pursue a joint business degree This summer as l began
my preparation for the Bar exam, he made sure l had full usc of his office each day to have
uninterrupted study time He remains my greatest supporter and l rely on his encouragement,
direction, experience, and intelligence every day.

These last two and half years have taken a toll on the entire family. But it has been most difficult,
however, to see my father in law’s character called into question lt has taken a lifetime for him
to build his exceptional reputation, and it has now taken one mistake to tarnish decades of
incredible deeds At his core, he is a family man that wants to protect us and take care of us as he
did before lviy father in law has shown us how to learn from a mistake where when one feels
under pressure, it is tempting to cross a blurred line. He teaches us about Dina D’Mall<huta Dina:
the law of the land is the law and that he has taken responsibility for his actions He has
acknowledged this to each of us. llc tells us clearly that this is not a choice rather a
commandment. l know how deeply he regrets his poor judgement in this regard and also that he
has tarnished his family’s good name However, l have also seen his tremendous strength and
determination to find new paths and find positive pursuits even amidst some very adverse and
pressured circumstances with his pending case. He has not shortchanged any of us with his time,
focus, or encouragement to continue in our own lives I~Ie remains a role model for me in so
many areas and he has earned the title of Patriarch of our family. All of us will most certainly
suffer greatly from his absence should he be sent to prison

Your Honor, l beg you to show mercy and allow my father-in-law to make amends without
taking him away from our family and his community The value of what he is teaching us now
and so many others, cannot be replaced by a sentence of incarceration Please allow him to
continue on this path of educating by example l know that my father in law will be as devoted to
that mission as he has been to every other cause he has taken on.

Respectfully,

Daniel Jacobs

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Hyman Jacobs

Lawrence, NY -

  

August 1, 2018

Honorable Alvin K. Hellerstein
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street

New York, New York 10007

Dear Judge Hellerstein:

Although I grew up in Brooklyn, I spent the first 30 years of my marriage in Kew Gardens,
Queens. When I moved my family to Lawrence, NY in 2000, it was a big change I had many
friends and colleagues in Kew Gardens. But in moving to a well-established neighborhood, like
Lawrence, in many ways l was starting over. lt was on the High Hon Days of that year that I
first experienced what a kind and sensitive person Murray Huberfeld is. In the years to follow I
would learn a great many examples of his caring character, and eventually my son would marry
his daughter, but for me Murray’s deep empathy on that first Rosh Hashonah always
encapsulated how he treats others with respect and dignity.

The synagogue where I found myself that Rosh Hashonah didn’t have seating ceilings and
stained glass. lt was a modest structure, appended to the side of a residential home, that was led
by a holocaust-survivor Rabbi from Eastern Europe. What the synagogue lacked in space it made
up for in heart, and it was clear to me that its members knew each other intimately. lt was the
kind of synagogue I was used to, but I was there primarily because it was quite near to my new
home, and because my brother-in-law prayed there.

The High Holy Days are the busiest time of the year, and in order to accommodate the
worshippers, many additional seats were added to this synagogue, which crowded the small
space. In such a circumstance, the adults and dignitaries are usually given more comfortable
table spaces closer to the front, and teenagers and children are accommodated in the back on
chairs only, where as many seats as possible are crammed in. When I arrived for services, I was
dismayed to see that as a newcomer, I had been assigned one of the worst situated seats in the
synagogue. It was in the rear corner, in a location that made participating and observing the
services very difficult

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Aside from the practical matter of my discomfort at being in a child’s seat, l personally felt
embarrassed. For many years I was an established member of my congregation, and although l
didn’t expect special treatment, l still expected that I would at least sit with the rest of the adults
in the congregation.

lt was then that I noticed Murray making some movements and gesturing in my direction to the
sexton. I knew that Murray was the driving force behind this congregation - that he had recruited
this Rabbi from Canarsie, where they both previously lived, and that it was his financial backing
that allowed the synagogue to open and operate on a daily basis. He was as close to synagogue
president, without actually being president, that you could get. But while l had crossed paths
with Murray a few times before, we weren’t really friends. Put another way, there were lots of
people in that synagogue who knew me far better and for longer than Murray - yet here was
Murray, not any of them ~ interceding on my behalf.

Murray realized that some sort of mistake must have been made, and how uncomfortable I must
have felt, and he sent his own son to take my seat in the back, moving me up to the first row right
next to him.

While this episode may seem like just a minor footnote when contrasted with Murray’s
substantial charitable endeavors, to me it speaks volumes about the man. It is so easy to overlook
the small things, the details. On the High Holy Days we have so much to pray for ourselves and
for our families, yet Murray looked beyond himself and helped someone because he could. This
is because Murray truly cares about every individual he comes across, regardless of their position
or stature. And while Murray is a true family man, spending great amounts of time with his wife
and children, he always seems to have time for members of the community that need his help. lt
is rare indeed to encounter a person with such a deep sensitivity and empathy. To me, that has
always been at the root of Murray and why he has connected with so many people and been such
a driving force for good.

Since my youngest son married his daughter about four years ago, I obviously got to know
Murray much better. He is an exemplary father to his children, my son included. Murray,
together with his wife Laura, have raised a beautiiiil family. ln this day and age it does not come
easy. They are always available for them to offer guidance and love, lots of love. ln particular, l
have seen how Murray cared for his father before his passing, and how he now cares for his
elderly mother. Murray and l are both children of Holocaust survivors, and I know the special
challenges we experience in honoring our parents who had lost so much of their own families
before rebuilding here in the United States. Murray visits his mother daily, and it is clear how
much his presence in her life means to her.

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Therefore, l write to Your lienor to ask that you recognize the unique caring that Murray
embodies which touched me then and that has likely touched thousands more. Respect,
compassiont and kindliness arc attributes that our society is desperately short of, and it is my
fervent hope that Murray will be able to continue his good work with his family and our
community without interruption

Y our kind consideration is very much appreciated

Sincerely,

Qg\§\N/\,\k j\/\/

Hyman l acohs

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Dr. Diane Zanger Berkowltz

New Rochelle, New York -

Honorable Alvin K. Hellerstein
United States District Judge
United States Courthouse
Southern District of New York
500 Pearl Street

New York, New York 10007

August 17, 2018
Dear Judge Hellerstein,

As you contemplate the sentencing for Murray Huberfeld l would like to share
with you some insight into Murray’s character based on my personal interactions
with him.

l have known Murray since he married my sister in law more than 28 years ago.
When l look at Murray, l see someone whose arduous dedication to family and
community knows no bounds. `l”o be truly dedicated to a person or a cause
requires a lot of thought and effort Anyone who has more than one child knows
that no two children are alike Whatever you had thought you may have learned
from raising the first, le how to discipline with love, how to guide their choice of
friends, what school is right what environment is best suited needs to be
re-evaluated and rediscovered with each subsequent child With careful thought
and 100% of his energy and focus on each of his five children as individuals
Murray has raised them each to be kind, hard working, and giving members of
their own communities Murray also teaches by example He spends countless
hours and channels great efforts towards his community’s needs and causes
both here and abroad His generosity extends to poor individuals who seek his
ear and an opportunity to tell their story to whom he listens to attentively and lo
whom he gives readily every year on Purim. He fills needs in his community by
giving his time to various boards of schools and other organizations giving
thoughtful and constructive advice as well as monetary support His dedication
and thoughtfulness extends to communities abroad as he is always seeking
opportunities to help others One year, he was introduced to poor children abroad
who could not afford the cost of religious rights of passage ln the Jewish
religion, when a boy reaches the age of thirteen, he becomes an official member

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of the community This momentous occasion is often marked with a celebratory
party, and this is the age when a boy would start to pray with phylacteries
(Tefrlin) which are quite expensive With an open generous heart, Murray bought
Tetilin for 26 boys, strangers, from poor families in israel and treated them to a
Bar Mitzvah celebration in their honor.

When it comes to celebrating the good times, or lending support through difficult
times, Murray is always there for his friends and his family. l know this from
personal experience as l have personally benefited from advice regarding
personal matters He has been a sounding board for my husband Noah and l
when we needed some direction with our children and career decisions Murray
has played the same role as the older and experienced brother for all of the
Berkowitz siblings

l know l cannot fathom the breadth and complexity of issues you need to
consider when rendering your sentencing l do understand however, that there is
room for a considerable amount of leeway and subjectivity l have done my best
to portray Murray’s kind, thoughtful and generous nature and to convey his
invaluable contributions to his family, friends, and community at large As you
deliberate his sentence, l hope you will take the above into account and also
consider the devastating impact his absence would have on this family and on
those whom he touches regularly.

Respectfu|ly

d trw/vw 66 )b'\/‘”;`

Diane Zanger Berkowitz, M.D.

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